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                                                       APPENDIX 1

                                     SECURITIES SPECIFIED BY OBJECTORS

         Security                 Allegations in Objection                             JPMorgan Response

Applebees bonds             JPMorgan sold to a third party at a     As of February 2008, Lehman had a $2.1 billion position in
                            commercially unreasonable price         Applebees/IHOP bonds that it tried to liquidate throughout
                            (Objection ¶ 49).                       2008, including $600 million of the CUSIP referred to in
                                                                    the Objection. Lehman’s marks on Applebees bonds
                                                                    dropped continuously through 2008, Lehman’s own sales of
                                                                    Applebees bonds during 2008 were substantially below its
                                                                    own marks, and Applebees’ stock price continued to fall
                                                                    steeply during the relevant period. Pre-Failure Marks were
                                                                    not representative of realizable value. JPMorgan’s sale of
                                                                    this large, illiquid position was at fair market value.

AMD bond                    JPMorgan sold to a third party and to   According to contemporaneous accounts in the Associated
                            itself at a commercially unreasonable   Press, AMD had dwindling cash reserves at “dangerous
                            price (Objection ¶ 50 n. 44).           levels,” and its “lifeline” loan was from Lehman. This
                                                                    position was 13% of the entire 144A issue. Prior to
                                                                    September 14, 2008, this bond was not eligible for the
                                                                    PDCF; thereafter, Lehman financed the bond in the PDCF
                                                                    with a margin requirement of 120%. Pre-Failure Marks
                                                                    were not representative of realizable value. JPMorgan’s
                                                                    sales of this large, illiquid position were at fair market
                                                                    value.

JPMCC 06-FL1 Trust bonds    JPMorgan acquired three illiquid        Objectors’ allegation is an unfair and unsupported
                            bonds without showing them to other     interpretation of the underlying trade documents. In this
                            potential buyers for strategic          case, JPMorgan had already been offering other tranches in
                            purposes related to existing holdings   this particular CMBS structure without success. The
                            (Objection ¶ 58).                       Tassimo sale price was based on offered prices that had not
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                                                                    been accepted by purchasers and on the price at which
                                                                    another tranche had recently been sold.

CMO Bid List and Treasury   JPMorgan distribution of bid lists to   Distribution of bid lists for certain securities was limited to
Bid List                    three and two potential purchasers,     avoid predatory trading and avoid perception of distressed
                            respectively, was commercially          liquidation. The prices at which JPMorgan sold the U.S.
                            unreasonable private sale and “highly   Treasury securities were at or near widely distributed
                            unlikely” to have yielded the best      market prices.
                            price available (Objection ¶¶ 60-61).

Fannie Mae bond (CUSIP      JPMorgan purchased 13 securities        Some resales by JPMorgan generated “profits,” while
313586RC5) and other        and then resold them at a “profit”      others generated losses. It is to be expected that there will
transactions                within days (Objection ¶¶ 63-64).       be numerous instances of profits and losses in resales of
                                                                    hundreds of securities purchased, particularly in volatile
                                                                    markets. Fannie Mae bond, which accounted for
                                                                    approximately two-thirds of so-called “profit,” was a zero-
                                                                    coupon subordinated illiquid instrument with volatile
                                                                    pricing in the wake of the Fannie Mae conservatorship, and
                                                                    would likely have had no value if Fannie Mae were
                                                                    converted to a receivership, a risk that JPMorgan took on
                                                                    by buying in the bond.

Georgetown University       JPMorgan purchased at a below-          This was an illiquid auction-rate municipal bond with an
(CUSIP 254839UE1)           market price and made a profit when     unfavorable formulaic maximum interest rate, and it had no
                            the bond was called 9 months later      assurance of payment or prospect of liquidity. JPMorgan
                            (Objection ¶ 66).                       purchased the security at its fair market value and held most
                                                                    of the position for almost a year at an unfavorable interest
                                                                    rate.

AIG Matched Funding Corp.   JPMorgan realized a profit on the       This was a large ($50 million principal amount) position,
bond                        purchase of this bond when it was       without trading history, in an illiquid market, with a high-
                            paid at par (Objection ¶ 67).           profile risky issuer. There existed substantial risk that AIG
                                                                    would fail after Lehman was allowed to fail. This bond
                                                                    was financed in the PDCF with 120% margin, and was


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                                                                    priced by IDC on September 17, 2008, at 60% of par.
                                                                    JPMorgan lost substantial sums on other purchases of high-
                                                                    yield corporate debt.

Bundled CMO and ABS         In late October and November 2008,      JPMorgan sold these securities in parcels in a commercially
sales                       JPM purchased four groups of CMOs       reasonable manner. These securities were principally
                            and ABS at “fire sale prices” in        illiquid subordinate or mezzanine instruments, with little
                            commercially unreasonable sales         trading history, from sponsors such as SASCO, American
                            (Objection ¶¶ 68-69).                   Home Mortgage, Lehman, and Washington Mutual. The
                                                                    Pre-Failure Marks for these securities were stale and based
                                                                    on unreliable model prices. In addition, more than half of
                                                                    the securities were based on Lehman’s own unrealistic
                                                                    marks. The par values cited in the Objection are wholly
                                                                    unrepresentative of realizable values.

Mobile Satellite Ventures   JPMorgan sold to a third party and to   This was a large, illiquid position with little trading history.
(now SkyTerra) bond         itself at a commercially unreasonable   JPMorgan’s sales of this large, illiquid position were at fair
                            price (Objection ¶ 50).                 market value.




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